Case 3:07-md-01894-AWT Document 34 Filed 06/30/08 Page 1 of 53

UNITED STATES DISTRICT COURT
DISTRICT OF CONNECTICUT

 

In re U.S. Foodservice, lnc. Civil Action No. 07-1894 (CFD)
Pricing Litigation MDL No. 1894 (CFD)

 

This Document Relates To:

 

Waterbury Hospital, et al., Civil Action No. 06-1657 (CFD)
Plaintiffs,
v.

U.S. Foodservice, Inc.,

 

 

 

Defendant.
Catholic Healthcare West, Civil Action No. 08-0004 (CFD)
Plaintiff,
v.
Koninklijke Ahold N.V., et al.,
Defendants.
Thomas & King, lnc., Civil Action No. 08-0005 (CFD)
Plaintiff,
v.
Koninklijke Ahold N.V., ct al.,
Defendants. JURY TRIAL DEMANDED

 

 

CONSOLIDATED AND AMENDED CLASS ACTION C()MPLAINT
This Consolidated and Amended Class Action Complaint is being filed in this MDL
proceeding pursuant to this Court’s Order entered on May 30, 2008 and involves three previously
transferred cases: Catho[ic Healthcare West v. Koninklijke Ahold N. V., et al., Civ. A. No. 08-()004,

Thomas & King, lnc. v. Koninklijke Ahold N. V., et al. , Civ. A. No. 08-0005, and Waterbury Hospital,

Case 3:07-md-01894-AWT Document 34 Filed 06/30/08 Page 2 of 53

cf al. v. U.S. Foodservl`ce, lnc., Civ. A. NO. 06-1657. See also In re U.S. Foodservz`ce, lnc., Pricing
Ll`tl'g., No. MDL 1894, 2007 WL 4615789 (J.P.M.L. 2007).

Plaintiffs Waterbury Hospital, Cason, lnc., Frankie’s Franchise Systems lnc., Catholic
Healthcare West, and Thomas & King, Inc. (collectively “Plaintiffs”), by their attorneys, bring this
individual and class action pursuant to Rule 23 of the Federal Rules of Civil Procedure against U.S.
Foodservice, Inc. (“USF”), Koninklijke Ahold N.V. (“Royal Ahold”) and Gordon Redgate
(“Redgate”) (collectively “Defendants”) for violations of the Racketeer Influenced and Corrupt
Organizations Act, 18 U.S.C. §§ 1961 et seq., (“RICO”), breach of contract, violation of California
Business and Professions Code §§ 17200 et seq., unjust enrichment and constructive trust, and allege
the following upon information and belief based on the investigation of their counsel and/or
documents and information obtained in discovery in this action, except as to those paragraphs
pertaining to Plaintiffs’ own actions, which are alleged upon personal knowledge:

NATURE OF ACTION

1 . Plaintiffs bring this action pursuant to Rule 23 of the Federal Rules of Civil Procedure
on their own behalf and on behalf of a class (the “Class”) and two subclasses, defined below, of
similarly situated entities and individuals that purchased products from USF or any of its subsidiaries
pursuant to contractual arrangements that defined the price in terms of a cost component (i.e.,
Landed Cost, lnvoice Cost, Market Replacement Cost or other similarly defined cost component)
plus a mark-up (e.g., cost-plus or margin-on-sell contracts). These arrangements are hereinafter

referred to as “cost-plus arrangements.”

2. USF, the second largest food distributor in the United States, provides food products

and services to approximately 250,000 customers, and approximately half of USF’s sales are made to

Case 3:07-md-01894-AWT Document 34 Filed 06/30/08 Page 3 of 53

customers who purchase products pursuant to cost-plus arrangements Plaintiffs and USF’s other
customers purchased food and other products from USF with the expectation that USF would act

honestly and in a commercially reasonable manner.

3. The case involves a scheme to defraud whereby USF falsely inflated the prices it
charged to its cost-plus customers since at least 1998 through the use of shell companies, sham
transactions and phony invoices. Defendants implemented their scheme on a nationwide scale,
effectively stealing hundreds of millions of dollars from innocent customers across the country

including thousands of hospitals and restaurants

4. Specifically, USF was able to falsely inflate the cost component of the prices charged
to its customers by operating and controlling companies called “Value Added Service Providers” or
VASPS, and conspiring with their owners, Defendant Redgate and Brady Schofield. The companies
were so-called to hide and conceal from USF’s cost-plus customers their true purpose: to pretend to
buy and then re-sell food to USF at a higher “invoice cost” and to provide USF With fraudulent
invoices (as described more fully herein, “the VASP System”). USF used the VASP System to
falsely inflate the cost component of the price charged to USF’s cost-plus customers, such as
Plaintiffs and other members of the Class (hereinafter “cost-plus customers”). As part of the
operation of the VASP System, after receiving payment from USF, the VASPs would secretly kick
back this falsely inflated amount. USF’s cost-plus arrangements, however, did not permit USF to

falsely inflate the cost component by a fictional or fraudulent amount.

5. Defendant Royal Ahold, USF’s parent company, had full knowledge of, and helped

facilitate and conceal, the existence and purpose of the VASP System as a scheme to defraud USF’s

Case 3:07-md-01894-AWT Document 34 Filed 06/30/08 Page 4 of 53

cost-plus customers from the time it acquired USF. Instead of putting a stop to the use of the VASP

System following its acquisition of USF, Royal Ahold approved of it, allowed it to continue and

expand, and reaped the benefits of it.

6. Over a period of several years, Defendants USF, Royal Ahold, Red gate and others
used the VASP System to “purchase” almost $8.5 billion in products and overcharge USF’s cost-plus

customers
JURISDICTION AND VENUE

7. This Court has jurisdiction over the Subj ect matter of this action pursuant to 18 U.S.C.
§§ 1961, 1962, 1964 and 28 U.S.C. §§1331 and 1367. This Court also hasjurisdiction over this class
action pursuant to the Class Action Faimess Act of 2005, 28 U.S.C. § l332(d), providing for
jurisdiction where, as here, “any member of a class of Plaintiffs is a citizen of a State different from
any defendant” and the aggregated amount in controversy exceeds five million dollars ($5,000,000),
exclusive of interests and costs. See 28 U.S.C. §§ 1332(d)(2) and (6). This Court has personal
jurisdiction over Defendants pursuant to 18 U.S.C. §1965(b) and (d), the state long-arm statutes of
Connecticut, California, and Illinois, and also has personal jurisdiction over Defendant Royal Ahold

pursuant to Fed. R. Civ. P. 4(k).

8. This Court is the proper venue pursuant to In re U.S. Foodservice, lnc., Pricing Lz`tz`g.,

No. MDL 1894, 2007 WL 4615789 (J.P.l\/I.L. 2007).

LM_§
9. PlaintiffWaterbury Hospital is a public hospital located in Waterbury, Connecticut.

As part of` its operations, Waterbury Hospital offers meals and other foodservices to its patients,

_4_

Case 3:07-md-01894-AWT Document 34 Filed 06/30/08 Page 5 of 53

employees and visitors. Waterbury Hospital is a party to a cost-plus arrangement originally entered
into with Alliant Exchange, which was acquired by USF in 2001. Following the acquisition of
Alliant Exchange, Waterbury Hospital continued to purchase products from USF pursuant to its cost-
plus arrangement On information and belief, Defendants wrongfully overcharged Waterbury
Hospital through the operation and control of the VASP System. As result, Waterbury Hospital has

been injured in its business and property.

1 0. PlaintiffCason, Inc. is an Illinois corporation located in Rockford, Illinois. Cason has
operated a family-owned restaurant under the name Maria’s Italian Cafe since the early 19603. USF
has invoiced Cason on a weekly basis for products Cason purchased on a “cost-plus” basis since at
least 2000. On information and belief`, Defendants wrongfully overcharged Cason through the
operation and control of the VASP System. As result, Cason has been injured in its business and

property.

1 l. PlaintiffFrankie’s Franchise Systems lnc. (“Frankie’s”) is a Connecticut corporation
located in Waterbury, Connecticut. Frankie’s operates a chain of franchised restaurants in the State
of Connecticut, including Frankies of Naugatuck, Frankies of Bristol, Frankies of West Haven,
Frankies of Reidville, Frankies Dairyette, lnc., Frankies Lakewood Road, Ballpark Frankies,
Frankies By The Sea, and Big Franks. Frankie’s is a party to a cost-plus arrangement with USF,
pursuant to which Frankie’s and its franchisees have purchased products from USF. On information
and belief, Defendants wrongfully overcharged Frankie’s through the operation and control of the

VASP System. As result, Frankie’s has been injured in its business and property.

12. Plaintif`f Catholic Healthcare West, (“CHW”) is a non-profit corporation organized

Case 3:07-md-01894-AWT Document 34 Filed 06/30/08 Page 6 of 53

under the laws of the State of California, with its principal place of business at 185 Berry Street,
Suite 300, San Francisco, CA 94107. CHW is a system of dozens of hospitals and medical centers in
Calif`ornia, Arizona and Nevada. Founded in 1986, CHW is one of the largest hospital systems in the
nation and the largest not-for-profit hospital provider in California. In 1999, CHW and its hospitals
and medical centers became members of Premier, lnc., a Group Purchasing Organization engaged in
contracting services for its members to help them manage and reduce supply costs. CHW has
purchased products from USF pursuant to a cost-plus arrangement between Prernier and USF’s
predecessor, Alliant Foodservice, which was acquired by USF in late 2001. This contract Was in
effect until June 29, 2005. F rom 2000 to 2004, this contract was modified three times with “Alliant
Foodservice, Inc. d/b/ a U.S. Foodservice” executing the amendments as the foodservice distributor.
ln 2005, this contract was modified again with “U.S. Foodservice” executing the amendment as the
foodservice distributor. On information and belief, Defendants wrongfully overcharged CHW
through the operation and control of the VASP System. As result, CHW has been injured in its

business and property.

13. PlaintiffThomas & King, Inc. (“T&K”) is a corporation organized under the laws of
the State of South Carolina, with its principal place of business at 249 East Main Street, Lexington,
KY 40507. Founded in 1988, T&K owns and operates eighty-eight Applebee‘s Neighborhood Grill
& Bar restaurants and seven Carino’s Italian Grill restaurants in Arizona, Indiana, Kentucky, Ohio

and Pennsylvania. T&K has purchased products from USF pursuant to a cost-plus arrangement it
entered into with Alliant effective July l, 2001. This contract was in effect until either party elected
to terminate it. On information and belief, Defendants wrongfully overcharged T&K through the

operation and control of the VASP System. As result, T&K has been injured in its business and

_6_

Case 3:07-md-01894-AWT Document 34 Filed 06/30/08 Page 7 of 53

property.

14. Defendant U.S. Foodservice, lnc. is based in Maryland with its principal offices
located at 9755 Patuxent Woods Drive, Columbia, Maryland 21046. USF describes itself as one of
the leading broad line foodservice distributors in the United States, With yearly revenues exceeding

318 billion. From April 10, 2000 through July 3, 2007, USF was a wholly-owned subsidiary of

defendant Royal Ahold.

1 5. Following its acquisition by Royal Ahold, USF substantially expanded its operations
through a series of acquisitions of other foodservice distribution companies, including: GFG
Foodservice, lnc., acquired in July 2000; PYA/Monarch, lnc., acquired in December 2000; Parkway
Food Service, acquired in February 2001; Mutual Wholesale Co., acquired in May 2001; Alliant

Exchange, acquired in November 2001; Lady Baltimore Foods, acquired in December 2002; and

Allen Foods, acquired in December 2002.

16. Defendant Royal Ahold is a public holding company in The Netherlands with its
principal place of business at Piet Heinkade 167 - 173, 1019 GM, Amsterdam, The Netherlands. As
a part of`its operations, Royal Ahold owns and operates grocery stores and food service companies in
the United States and Europe through subsidiaries and affiliates. Royal Ahold’s companies
generated more than 44 billion euros in their fiscal year 2006. On July 3, 2007, Royal Ahold
completed the sale of USF to a consortium of Clayton, Dubilier & Rice Fund VII, L.P. ("CD&R")

and Kohlberg Kravis Roberts & Co L.P. ("KKR") for a purchase price of $7.1 billion.

17. Pursuant to the terms of the Stock Purchase Agreement dated May 2, 2007, by and

between Royal Ahold, Ahold U.S.A., lnc. and Restore Acquisition Corp., an entity controlled by

_7_

Case 3:07-md-01894-AWT Document 34 Filed 06/30/08 Page 8 of 53

investment funds associated with CD&R and KKR, and other agreements related to the transaction,
Royal Ahold agreed to indemnify USF from and against damages and litigation expenses (including

attomeys` fees and expenses) related to the claims in this case, suffered, incurred or paid after the

closing ofthe sale of USF _

1 8. Defendant Gordon Redgate is an individual who, upon information and belief`, resides
in Chatham, New Jersey. During the relevant period, Redgate was president and, upon information
and belief, the principal owner of the following corporations: (1) Commodity Management Systems,

lnc. and (2) Private Label Distribution, lnc.
OTHER ENTITIES

19. Brady Schofield is an individual who, upon information and belief, resides in Naples,
Florida. During the relevant period, Schofield was president and, upon information and belief, the
principal owner of the following corporations: (1) Frozen Farms, Inc., (2) Produce Solutions, Inc.,

(3) Seafood Marketing Specialties, lnc., and (4) Specialty Supply & Marketing, lnc.

20. Frozen Farms, lnc. (“Frozen Farrns”) was a corporation organized under the laws of
the state of Rhode Island that was incorporated on June 5, 1998, with its principal place of business

in l\/liddletown, Rhode Island. Frozen Farms purportedly transacted in frozen and processed foods.

21. Produce Solutions, Inc. formerly known as Cross-Valley Produce (“Produce
Solutions”), upon information and belief, was a corporation organized under the laws of the state of
California that was incorporated on January 18, 2000, with its principal place of business in

Newport, Rhode lsland. Produce Solutions purportedly transacted in produce.

22. Seafood Marketing Specialists, Inc. (“Seafood Marketing Specialists”) is a

_8-

Case 3:07-md-01894-AWT Doeument 34 Filed 06/30/08 Page 9 of 53

corporation organized under the laws of the State of Rhode Island that was incorporated on
December 24, 1997, with its principal place of business in Middletown, Rhode Island. Seafood

Marketing Specialists purportedly transacted in seafood products

23. Specialty Supply & Marketing, Inc. (“Specialty Supply & Marketing”) was a
corporation organized under the laws of the Commonwealth of Massachusetts that was incorporated
on July 3, 2000, with its principal place of business in New Bedford, Massachusetts Specialty

Supply & Marketing purportedly provided sales support

24. Commodity Management Systems, Inc. (“Commodity Management”) is a corporation
organized under the laws of the State of New Jersey that was incorporated on September 18, 1990,
with its principal place of business in Chatham, New Jersey. Commodity Management purportedly

transacted in frozen fruits and vegetables

25. Private Label Distribution, Inc. (“Private Brands”) was a corporation organized under
the laws of the State of New Jersey that was incorporated on September 8, 1994, with its principal

place of business in Summit, New Jersey. Private Brands purportedly transacted in canned food

products
SUBSTANTIVE ALLEGATIONS
USF’s Business and Cost-Plus Arrangements

26. USF supplies food and related products to customers including small independently
owned restaurants chain restaurants (including national and regional chains), healthcare providers
governmental entities educational institutions and other foodservice establishments USF’s

operations cover over 95% of the geographic area of the United States

_9_

Case 3:07-md-01894-AWT Doeument 34 Filed 06/30/08 Page 10 of 53

27. USF markets a wide variety of foodservice products to its customers, including meat,
seafood, produce, dairy, frozen foods and other private label and brand name items USF purchases
these products from suppliers and then re-sells the products to USF’s customers Between 2000 and

2005, USF generated annual revenues of between $7 billion and 818 billion.

28. A substantial amount of USF’s sales are made pursuant to cost-plus arrangements
lndeed, a Royal Ahold spokesman stated in a Wall Street Journal article that approximately half of

USF’s sales are made to customers who purchase products pursuant to cost-plus arrangements

29. Typically, USF’s cost-plus arrangements provide that USF will sell to its cost-plus
customers certain types of products in amounts and at times specified by the customers The
arrangements further provide that the prices to be charged USF’s cost-plus customers will equal a
cost component, which is based on the prices charged to USF by its suppliers, plus an agreed upon

mark-up of either a fixed percentage or a set dollar amount.

30. In order to allow USF to retain the benefits achieved as a result of its relationships
with its suppliers and the volume of products it purchased, USF’s cost-plus arrangements provide
that certain contingent payments and other incentives USF receives from its suppliers will not be
used to reduce the cost component used to calculate the price charged to USF’s cost-plus customers,
even though such amounts have the affect of reducing the prices charged to USF by its suppliers

These payments are generally referred to as “promotional allowances.”

31. Promotional allowances are rebates, discounts, credits or similar consideration that

suppliers provide to customers to promote the sale of their goods
32. Promotional allowances can take various forms including signing bonuses, volume-

_1()_

Case 3:07-md-01894-AWT Document 34 Filed 06/30/08 Page 11 of 53

based programs seasonal programs growth programs corporate marketing allowances and local

marketing funds and food shows

33. Specifically, the pricing terms of a typical USF cost-plus arrangement provide as

follows

The price of product to Customer shall equal USF’s invoice cost (as hereinafter defined) plus the
agreed upon fee per case on cost as outlined below. USF’s invoice cost is defined as the
manufacturer’s (supplier, packer or any other vendor) delivered cost or f.o.b. unit price plus
standard freight (as hereinafter defined) to USF’s distribution center, less off-invoice discounts
or off-invoice allowances (sueh off-invoice discounts or off-invoice allowances to mean
manufacturer generated discounts or allowances on particular items for set periods of time and
which are specifically reflected on the invoice). lnvoice cost shall not be adjusted for, and
Customer shall not be entitled to, promotional allowances cash discounts prompt pay discounts
growth programs or any other supplier incentives received by USF.

34. A cost-plus arrangement between USF and Novation LLC, dated April 2004, pursuant
to which Waterbury Hospital has purchased products as a participating member, contains the

following virtually identical language:

The price to Participating Members for all Products sold under this Agreement (the “Price) will

be calculated on the basis of Landed Cost. For the purposes of this agreement, “Landed Cost” is
defined as follows:

*=l<*=l<*

(in the case ofNon-contract product) the manufacturer’s (supplier, packer or any other vendor)
delivered cost or f.o.b. unit price plus standard freight (as hereinafter defined) to Approved
Distributor’s distribution center, less off-invoice discounts or off-invoice allowances (sueh off-
invoice [discounts] to mean manufacturer generated discounts or allowances on particular items
for set periods of time and which are specifically related on the invoice).

>l<>l<>l=*=l=

Participating Members shall in no event be entitled to, promotional allowances cash discounts
prompt pay discounts growth programs or any other supplier incentives received by [USF].

35. Waterbury Hospital, CHW and T&K have also purchased products from USF

_11_

Case 3:07-md-01894-AWT Document 34 Filed 06/30/08 Page 12 of 53

pursuant to arrangements originally entered into with USF’s predecessor, Alliant Foodservice, Which
was acquired by USF in late 2001. Substantially similar to the typical USF cost-plus arrangement
described above, the Alliant arrangements provided that cost-plus products would be priced based on
the cost component as reflected on an invoice plus applicable freight, without, among other things

reduction for promotional allowances

36. Similarly, in other cost-plus arrangements including a February 2, 2006 arrangement
between USF and plaintiff F rankie’s, USF represented that it Would charge its cost-plus customers an
amount equal to the “local market replacement cost or current market average cost of procured
products” plus in-bound freight and an agreed upon mark-up percentage As with the other typical
USF cost-plus arrangements this arrangement provided that USF would be entitled to retain
“supplier incentives.” Prior to the date of this arrangement, Frankie’s has purchased products from

USF on a cost-plus basis under arrangements containing the same or substantially the same terms

37. l\/loreover, invoices issued by USF to its cost-plus customers including Plaintiffs
consistently contained the following language which is substantially similar to that set forth in USF’s

other cost-plus arrangements

Promotional allowances cash discounts prompt pay discounts growth programs and all other
incentives are retained by U.S. Foodservice and do not reduce product cost. Product cost is
defined as the supplier, packer or any other vendor delivered cost or f.o.b. unit price plus
standard freight less off-invoice discounts or off-invoice allowances (i.e., manufacturer generated
discounts or allowances on particular items for set periods of time and which are specifically
reflected on the invoice).

38. ln sum, regardless of the precise language used, the material pricing terms of USF’s

cost-plus arrangements provided that the amount charged to USF’s cost-plus customers would be

_12_

Case 3:07-md-01894-AWT Document 34 Filed 06/30/08 Page 13 of 53

predicated on a cost component and an agreed-upon mark-up. Although USF was permitted to retain
promotional allowances received from suppliers none of these arrangements allowed USF to enter
into secret arrangements and/or operate and control the VASP System. Such a scheme to defraud is
prohibited by USF’s cost-plus arrangements as it renders the cost-plus pricing system wholly
illusory and gives USF carte blanche to charge whatever it Wanted, while at the same time depriving
its cost-plus customers of any ability to uncover and detect that the invoices used by USF to derive
the prices it charged were bogus Nevertheless, as alleged in detail below, in violation of federal and

state law as well as its contractual obligations this is precisely what USF did.
Defendants’ Operation And Control of the VASP System

39. A substantial amount of USF’s sales were made pursuant to the VASP System. Over
a period of several years VASP related transactions With USF accounted for almost one-fifth of all
ofUSF’s purchases ln fact, Royal Ahold stated in its fiscal year 2002 Forrn 20-F, filed on October
16, 2003, that the VASPs’ “sales” to USF during the period from 2000 to 2003 totaled approximately

eight billion euros and that these sales included primarily private label and signature brand products

40. ln its 2004 Forrn 20-F, filed on April 14, 2005, Royal Ahold further disclosed an
additional four hundred and eighty nine million euros in VASP “sales” to USF, and stated that USF

ended its relationship with five of the VASPs through a phased transition of services

41 . Although nominally independent, USF effectively controlled the VASPs and directed
their business on a daily basis As operated and controlled by USF, the VASPs had no legitimate or
commercially reasonable business purpose and provided no legitimate or commercially reasonable

service to USF. The VASPs did not manufacture or process any products themselves but rather

_13_

Case 3:07-md-01894-AWT Document 34 Filed 06/30/08 Page 14 of 53

would merely purchase products from other suppliers at USF’s direction at prices and in amounts
dictated by USF for the purpose of reselling them to USF at a falsely inflated price. lndeed, although
the orders were placed through the VASPs USF would communicate directly with the actual
suppliers to determine price, specifications of products and other information related to the orders
Similarly, the amount by which the cost component charged to USF’s cost-plus customers was
falsely inflated as a result of funneling purchases through the VASPs was also dictated by USF.
Thus the VASPs served only as vehicles to falsely inflate the cost component of the price charged to
USF’s cost-plus customers and to generate a bogus paper trail that Would conceal USF’s illegal

conduct from its cost-plus customers

42. All or most of the VASPs were set up for the purpose of selling products to USF and
all or most of their sales were made to USF. In addition, all or most of the VASPs purchases were
funded by interest free advances from and financial guarantees by USF, and 100% of the VASPs’
shares were assigned and irrevocably transferred to USF as collateral for these advances lndeed, the
VASPs were not provided with any owner-supplied funding whatsoever and the “transaction fees”
paid to the VASPs which were approximately $27.50 per invoice regardless of the amount of
products involved, were intentionally structured to cover the VASPs’ operating costs and enable the
VASPs to “break even.” Moreover, USF would retain the risk of loss on the products even though

the purchases were routed through the VASP System.

43. Further, the written agreements between USF and the VASPs prohibited the VASPs

from disclosing the existence and operation of the VASP System. _

-14_

Case 3:07-md-01894-AWT Document 34 Filed 06/30/08 Page 15 of 53

44. Pursuant to USF’s arrangements with the VASPs USF would direct the VASPs to
purchase particular products in particular amounts and at particular prices At USF ’s direction, the
VASPs would then falsely inflate the cost of the products and resell them to USF. USF, in tum,
would then sell these products to its customers using the falsely inflated cost component invoiced by
the VASP. A fixed percentage or set dollar amount then would be added on to the falsely inflated

cost component to arrive at the prices charged by USF to its cost-plus customers

45. After USF paid the VASPs for the products the difference between the VASPs’
actual costs and the prices charged to USF (the “bucket”) minus a nominal transaction fee retained
by the VASPs,would be kicked back to USF and recorded as income on USF’s books These
“buckets” of money sent from the VASPs to USF were structured to hide the “cost” falsely added by

the VASP System and were concealed from USF’s cost-plus customers

46. USF deceived its cost-plus customers into believing that USF’s cost component was
calculated based on using transactions with only legitimate suppliers The VASP System was
designed to, and did, induce USF’s customers to rely on USF’s material representations enter into
contracts with USF, place orders for products from USF, and make payments to USF. Moreover,

such reliance was reasonable under the circumstances because Defendants intentionally used the

_15_

Case 3:07-md-01894-AWT Document 34 Filed 06/30/08 Page 16 of 53

VASP System to hide the scheme from USF’s customers and concealed from, and at no time fully

disclosed to, USF ’s cost-plus customers the existence and true purpose of the VASP System.

47. The “buckets” kicked back to USF did not constitute legitimate “promotional
allowances" or any other sort of bona fda incentive that USF sometimes received from its suppliers
Unlike legitimate promotional allowances the kickbacks were self-generated and not dependent on
U SF achieving any distribution contingency or USF providing any benth to the VASPs Rather, the
kickbacks were tied directly and solely to inflated pricing dictated by USF and were sent to USF

upon its demand.

48. Not only were the kickbacks impermissible, self-generated amounts but they
provided a mechanism whereby USF Was able conceal its ability to overcharge its customers through
the operation of the VASP System and falsely inflate the cost component of the price charged to

U SF’s cost-plus customers

49. The sham nature of the relationship between USF and the VASPs was succinctly

acknowledged by one of USF’s inside counsel, _
_ This however, is exactly What USF did.

50. The following example illustrates how the VASP System generally worked: At
USF’s direction, a VASP would purchase an item from a supplier at the price of $l .00 per unit. The
purchase was made by the VASP for the purpose of “reselling” the product to USF, and was fianded
by and/or guaranteed by USF. At USF ’s direction, the VASP would then falsely inflate the price of

the product and sell it to USF for Sl.lO per unit. USF would, in turn, sell the product to one of its

_16_

Case 3:07-md-01894-AWT Document 34 Filed 06/30/08 Page 17 of 53

customers After USF paid the VASP for the product, however, the VASP would pay the supplier
only $ l .00 per unit and kick back the “bucket” (i.e. , the $0. 10 per unit difference) to USF (minus a
nominal transaction fee). Nevertheless USF would use the falsely inflated invoice amount of$l . 10
per unit to calculate the cost component charged to its cost-plus customers USF would then add on
an additional mark-up, for example 6.5%, thereby charging its customer $l .l7 per unit. As a result,
in this exarnple, the transaction would indicate on paper that USF received a 6.5% margin on its cost
of$l .10 per unit, or $0.07 per unit, when, in fact, it actually received a 17% margin on the $ l .00 per

unit uninflated price, or $0.17 per unit.

51 . Royal Ahold and Redgate had knowledge of, and willingly participated in, the VASP
System Schofield and Redgate knew each other and were in frequent contact. ln fact, Schofield,
Redgate and a USF executive who supervised the VASPs on a day-to-day basis were sometimes
referred to around USF’s offices as “the Three Musketeers.” Furthermore, Redgate had knowledge
that USF was buying certain categories of food products through Schofield’s VASPs and Schofield

had knowledge that USF was buying other types of food products through Redgate’s VASPs

52. The VASP System was a self-contained scheme that operated independently from any
single USF cost-plus arrangement ln fact, the VASP System was not designed to defraud only
Plaintiffs but rather represented a systematic way of doing business that was independent of any

particular cost-plus arrangement or specific customer.

53. On information and belief, between 1998 and 2004, USF engaged in thousands of
separate fraudulent transactions in furtherance of its scheme to falsely inflate the cost component and

the mark-up charged to its cost-plus customers Details regarding the dates times products

_17_

Case 3:07-md-01894-AWT Document 34 Filed 06/30/08 Page 18 of 53

purchased, and the amount by which the cost component was falsely inflated, which occurred on a

daily basis for a period of` several years from at least 1998 until 2004, remain to be determined

through the discovery process

54. The amount of the kickbacks resulting from USF’s operation of the VASP System
was substantial. On April 10, 2000, USF was acquired by Royal Ahold. At that time, USF had
annual sales of approximately 87 billion. Following its acquisition, Royal Ahold and USF continued
the operation of the VASP System and substantially expanded USF’s operations through the
aggressive acquisition of other food distribution companies As a result, by the following year,
USF’s sales had grown to approximately 812 billion, and by 2002, sales reached approximately
817.5 billion. USF’s dramatic growth placed increasing pressure on USF to takes steps to improve
its operating margins and the amount of the kickbacks resulting from the operation of the VASP

System grew substantially

55. lndeed, in 2000 through 2003, between 16% and 20% of USF’s total sales (i.e.
between 81 .2 billion and 83.6 billion a year) were of products that were passed through the VASP
System for the purpose of falsely inflating USF’s cost component During this same time period

alone, the VASP System kicked back hundreds of millions of dollars to USF.
Royal Ahold’s Knowledge of and Support of the VASP System

56. Pursuant to an Agreement and Plan of Merger dated March 13, 2000, Royal Ahold
acquired all of the stock of USF. Under the merger agreement, and amendments to USF’s by-laws
following the merger, Royal Ahold exercised its authority to name all of the members of the USF

board of directors As a result of due diligence performed in connection with its acquisition of USF,

_18_

Case 3:07-md-01894-AWT Document 34 Filed 06/30/08 Page 19 of 53

Royal Ahold became aware of the existence and purpose of the VASP System. J im Miller, USF’s

CEO, Was appointed to Royal Ahold’s Executive Board on September l, 2001.

57. The VASP System was well known to senior management at both USF and its parent
Royal Ahold, and was considered standard operating procedure to increase USF’s margins above
what it was entitled to under its cost-plus arrangements For example, a report dated February 20,
2000, prepared by Royal Ahold’s internal audit staff prior to Ahold’s acquisition of USF and sent to
Ahold executives Cees van der Hoeven, Michiel Meurs, J an Andreae, Allan Noddle, Robert Tobin,
Ton Tielraden, Andre Buitenhuis, and Bert Verhelst regarding due diligence performed With respect
to USF, notes the existence of the VASPs and acknowledges that their purpose is to "'shelter and earn
. . . ‘rebates’ on its private label brands and to hide [promotional allowances] from clients’ auditors.”
The report concludes that USF’s use of the VASPs “needs to be researched to assess the tax and

legal implications and associated business risks.”

58. ln addition, an April 12, 2001 memorandum from the then-ChiefFinaneial Officer of
USF, Ernie Smith, to l\/liehial Meurs, Royal Ahold’s Chief Financial Officer at the time and a

member ofits executive board, states:

ln the normal course of business USF has engaged in setting up friendly third parties which
allow them to establish pads to income. ln substance a new legal entity is set up, the entity will
take title to goods; mark them up and sale [sic] the product to USF. In turn by contract, the third
party will collect a fee for the service and return to USF allowances lt has been common

practice for USF to have these entities forward buy and USF to give them a deposit for inventory.
[Emphasis added]

59. Mr. Smith sent this memorandum to Mr. Meurs in order to bring to the attention of

Royal Ahold’s executive board the serious concerns that Mr. Smith had regarding certain accounting

_'19_

Case 3:07-md-01894-AWT Document 34 Filed 06/30/08 Page 20 of 53

issues at USF involving the manipulation of reported earnings from promotional allowances received
from various suppliers and the VASPs Due to his concerns over USF’s financial records and the
lack of integrity of USF’s management, Mr. Smith stated that he “felt [he] had no alternative other

than to exit the business and disclose the issues.”

60. Despite Royal Ahold’s extensive knowledge about the operation and purpose of the
VASP System, it refused to take steps to rein in the VASP System. According to the minutes of a
Royal Ahold Audit Committee meeting held on December ll, 2001, Royal Ahold refused to
implement a promotional allowance monitoring system as recommended by its auditors because of

the “sensitive nature” of how the system operated

61. Royal Ahold continued to keep the VASP System secret Then, on February 24,
2003, Royal Ahold disclosed that its financial results for 2000 through 2002 would be substantially
less than previously reported due to “significant accounting irregularities” involving USF.
Specifically, Royal Ahold disclosed that USF had intentionally overstated the amount of promotional
allowances received from its suppliers for the purpose of allowing USF to report that it had achieved
or exceeded its earnings targets USF accomplished this by recording completely fictitious
promotional allowances in amounts that Would cover any shortfall from projected earnings targets
These disclosures however, failed to reveal that Defendants operated the VASP System alleged

herein to overcharge its cost-plus customers

62. The disclosures of the accounting fraud led to extensive civil and criminal
investigations of Royal Ahold and USF, as well as significant review of USF’s accounting practices

by outside accountants retained by Royal Ahold, including PricewaterhouseCoopers (“PwC”), who

_2()_

Case 3:07-md-01894-AWT Document 34 Filed 06/30/08 Page 21 of 53

was retained to conduct a forensic accounting investigation and prepare a report ln connection with
this process PwC discussed the Defendants’ operation of the VASP System to overcharge its cost-
plus customers PwC included information about the VASP System in a report submitted to Royal

Ahold’s Audit Committee on June 25, 2003 (the “PWC Report”).
63. The PwC Report describes the VASPs in the following manner:

Value Added Service Providers or “VASPS” (6) - special purpose entities designed to enable
mark-up on items_,for which normal vendor Pas [promotional allowances] do not exist VASPs
create “pass-baek” or “bucket” earnings which is essentially the markup between manufacturer
cost and what the VASP charges the USF branch, less a transaction fee. (Emphasis added).

64. Moreover, the PWC Report pointed out to Royal Ahold the significant concerns over

whether these arrangements are permissible under USF’s cost-plus arrangements with its customers

stating as follows:

ln light ofthe control aspect, significant questions are raised relative to customer contracts where
the Company provides product on a “cost-plus” basis While customer contracts especially
those with commercial customers appear to address this point by indicating that the customer is
not entitled to any rebates or allowances that are not “off invoice” (i.e. the customer is only
entitled to discounts that reduce the original invoice to USF), it is unclear whether such

contract language would protect the Company if the fact of USF control of the VASPs were
disclosed or otherwise known. . . .

The VASP entities are closely-held businesses whose principals are well-known by Tim Lee and
l\/lark Kaiser. Except for one, these entities are funded entirely by USF advances and make all of
their sales to USF. Generally, USF directs the VASPs’ purchase decisions including quantities
and prices and for five of the six, has audit rights to their books and records Furthermore, the
VASPs shares are irrevocably assigned to USF as collateral for the advances (Emphasis added).

65. PwC noted that USF’s outside counsel, White & Case, had issued a heavily qualified

emmett lettet dated _

_21_

Case 3:07-md-01894-AWT Document 34 Filed 06/30/08 Page 22 of 53

_ enly te retract the letter _

Case 3:07-md-01894-AWT Document 34 Filed 06/30/08 Page 23 of 53

68. The existence of the VASPs was first disclosed to Royal Ahold shareholders in
October 2003 as part of Royal Ahold’s announcements that it would be restating its earnings for
fiscal years 2000 and 2001 by more than 8800 million after discovering accounting fraud at USF.
Royal Ahold’s 2003 announcements led the SEC, DOJ and Netherlands authorities to launch parallel
investigations into whether USF booked inflated and not yet earned “promotional allowances” from
suppliers

69. As a result of those investigations in October 2004, the SEC charged Royal Ahold
and its top three executives-Cees van der Hoeven, CEO, A. Michiel Meurs, CFO, and J an Andreae,
EVP_with securities fraud. The company and two former executives settled the charges on October
l 8, 2004, Specifically, van der Hoeven and Meurs consented to orders barring them from serving as
officers or directors of a public company. Subsequently, in November 2005, Royal Ahold settled a
U.S. shareholder class action for 81.1 billion, and in l\/lay 2006, Royal Ahold’s former CEO and
CFO were convicted of fraud in the Netherlands Additionally, four former USF executives-
l\/lichael Resnick, CFO, Mark Kaiser, Chief Marketing Officer, Timothy Lee, EVP of Purchasing,
and William Carter, VP of Purchasing, Supply Chain_have been convicted of, or pled guilty to,
criminal charges arising f`rorn the accounting fraud. ln July 2004, Lee and Carter pled guilty to
criminal securities fraud and agreed to cooperate with investigators Resnick later pled guilty to
conspiracy to submit false books records and accounts and received three years probation On May
17, 2007, Kaiser was sentenced to seven years in prison. ln addition to Royal Ahold, USF and their
executives approximately a dozen co-conspirators from USF’s supplier companies have pled guilty
to fraud, conspiracy and/or insider trading, including the owners of the VASPs - Schofield and

individual Defendant Redgate.

_23_

Case 3:07-md-01894-AWT Document 34 Filed 06/30/08 Page 24 of 53

70. Further, Royal Ahold has stated in filings With the United States Securities and
Exchange Commission (the “SEC”) that the DOJ has instituted a civil investigation which Royal
Ahold “believes relates to certain billing practices of USF with regard to contracts with federal
agency customers.” Royal Ahold has further stated that “[t]he U.S. Attorney has requested that the
company provide certain documents generally related to (i) U.S. Foodservice’s cost of products
purchased from certain vendors including the VASPs and the prices charged for such products
when sold to federal agency customers.” ln its filings with the SEC, Royal Ahold has stated that it
“believes it is probable that claims will be asserted in the [DOJ’s] civil investigation.” On
information and bclief, Plaintiffs believe that the civil investigation being conducted by the DOJ
involves the same type of fraudulent contracting and billing practices at issue in this case.

USF Employees’ Admissions Concerning the VASP System

71 . More recently, the VASP System was the subject of testimony given in the criminal
trial brought by the United States against Mark Kaiser, USF’s former Chief Marketing Officer, for
conspiracy and securities fraud. Although the charges against Mr. Kaiser pertained to USF’s
improper accounting practices testimony provided at the trial also demonstrates the fraudulent
nature ofUSF’s billing practices Specifically, while testifying at the trial in October, 2006, Timothy
Lee, a former USF executive, described the VASPs in the following manner: “[T]hey were
companies that were set up on the behalf of U.S. Foodservice to procure product and capture the

difference in the spread on the cost of goods and send it back to U.S. Foodservice.”

72. When asked to describe the function of one of the VASPs named Private Brands, the

following testimony was elicited from l\/lr. Lee:

_24-

Case 3:07-md-01894-AWT Document 34 Filed 06/30/08 Page 25 of 53

A. Gordon Redgate owns Private Brands Private Brands is the third-party billing company
that U.S. Foodservice uses

Q. What does that mean again?

A. lt means that they - they take product, they - U.S. Foodservice buys product and bills it
through Gordon’s company and then collects the Pas from Gordon’s company.

Q. Now, just the -- when you say “Pas,” do you mean the spread?
A. Yes the difference of spread.

Q. Or the markup between what Private Brands has paid for the product and what USF pays
from the product when it buys it from Private Brands?

A. Yes.

73. l\/lr. Lee further described how the kickbacks received from the VASPs were referred

to internally at USF, testifying as follows:

A. They’re called shelters self-generated promotional allowances

Q. Self-generated because Mr. Redgate’s company is going out and buying the product,
right, at a certain price, and then is selling it back to USF at a higher price, correct‘?

A. Mr. Redgate’s company is taking title of the product at a lower price, billing U.S.
Foodservice at a higher price at U.S. Foodservice’s direction. Mr. Redgate’s company, this
company here, Private Brands did business solely With U.S. Foodservice

Q. And then that difference between What Private Brands bought it for and then sold it to
USF, who gets that difference?

A. That’s the difference that comes back to U.S. Foodservices as income.
Q. And Mr. Redgate also gets a percentage of that or -

A. He was paid a transaction fee by invoice.

74. Demonstrating the substantial amount of kickbacks USF received from the VASPs
Mr. Lee testified that the “buckets” transferred back to USF from the single VASP, Private Brands

amounted to more than 858 million in 2002 alone.

75. Mr. Lee then provided the following example to illustrate how the process worked:

_25-

Case 3:07-md-01894-AWT Document 34 Filed 06/30/08 Page 26 of 53

US Foodservice would ~ would buy a case of product let’s say for 810. We would then tell
l\/lr. Redgate at private brands to bill US Foodservice at 811 for that same case. The
difference between the 10-dollar price that Mr. Redgate actually paid for it and the 1 1-dollar
price that was invoiced to US Foodservice, that difference of l dollar is what went into those
buckets Those buckets then were sent to US Foodservice as income, sheltered income.

76. Mr. Lee also explained how this would impact the fixed percentage mark up charged

to USF’s cost-plus customers as follows

Q. And then, l\/lr. Lee, when US Foodservice went to sell the product to street or chain
customers would there be a markup on top of the 811?

A. Yes That was the - the cost of goods just coming into US and then there was the
markup that US Foodservice put on it to the customers

Q. Cost-plus.
A. Cost-plus.

77. Upon hearing l\/lr. Lee’s explanation, the Court expressed doubt as to what legitimate
purpose the arrangements with the VASPs could have, resulting in the following colloquy with the

witness

THE COURT: l don’t understand the sense of that ln other Words, if the vendor received
810, right -

Tl-IE WITNESS: Yes sir.
Tl-lE COURT: -- and who pays the extra dollar, anybody?

TH E WITNESS: The extra dollar is then passed on in the cost of goods to US Foodservice’s
customers US Foodservice works from a higher base cost of 81 1, and that’s where all the
markup starts from.

THE COURT: And is it or is it not considered a promotional allowance?

THE WlTNESS: lt is part of the promotional allowance. lt is a form of promotional
allowance called a shelter.

BY MR. SABOT:
Q. But it’s different from -

THE COURT: But the normal promotional allowance is paid for by the vendor.

_26_

Case 3:07-md-01894-AWT Document 34 Filed 06/30/08 Page 27 of 53

THE WlTNESS: That is correct

THE COURT: The vendor isn’t paying anything, as far as what we’re talking about now,
right'?

THE WITNESS: That is correct

78. ln sum, Mr. Lee testified that the VASP System was put in place solely for the
purpose of allowing USF “to have a higher billing cost” and a higher mark-up on that cost. Such an
arrangement both violates the terms of USF’s cost-plus arrangements with its customers and

constitutes a scheme to defraud.

79. The purpose and effect of the VASP System also is succinctly described in papers
filed by several former USF employees in connection with a lawsuit over a non-compete agreement
brought by USF in the United States District Court for the District of Massachusetts entitled, U.S.
Foodservice Inc. in Arthur Tsebetzis, et al. Specifically, a brief filed in that action on February 3,
2004, claims as supported by an affidavit submitted by Arthur Tsebetzis, a former senior vice

president and divisions president of USF, that:

USF has inflated its costs to customers via fictitious or USF-controlled middlemen and transport
companies Since USF bills its customers on a “cost-plus” basis - charging its customers for the

cost of goods plus a certain percentage - USF has artificially and fraudulently inflated the prices
its customers pay.

USF And Royal Ahold’s Post-VASP System Wrongdoing

80. Beginning in late 2003 and early 2004, USF began to phase out its operation of the
VASP System. Nevertheless USF continued to unlawfully overcharge it cost-plus customers by
entering into direct agreements with suppliers and other third parties pursuant to which they would
inflate the cost of products sold by an amount dictated by USF. USF would add a specified

percentage on top of the inflated price, as provided for in its cost-plus arrangements in order to

_27_

Case 3:07-md-01894-AWT Document 34 Filed 06/30/08 Page 28 of 53

arrive at the amount billed to its cost-plus customers

81. As was the case with the VASP System, after receiving payment from USF, the
suppliers and other third parties would kick back to USF the agreed upon amount by which the cost
of the products was secretly inflated. The suppliers and other third parties agreed to “bill” these
additional amounts to USF in their invoices (which were in addition to legitimate incentives already
included in the prices) and then collect such amounts from USF only to return these amounts back to
USF at USF’s insistence, and all based on USF’s representations that such an arrangement did not
constitute a violation of any state or federal law. ln many instances the additional amounts added to
the invoices were calculated so that USF would be able to continue charging its cost-plus customers

the same prices as were being charged under the prior operation of the VASP System.

82. By engaging in the foregoing conduct, USF was able to falsely inflate the cost
component that it used to calculate the prices charged to its customers allowing USF to reap

significantly greater profits than it otherwise could have under the terms of its cost-plus

arrangements
USF’s and Royal Ahold’s Concealment Of Their Unlawful Conduct

83. Defendants’ actively concealed their conduct to unlawfully overcharge USF’s cost-
plus customers in numerous ways As a result, Plaintiffs and Class members could not have
uncovered the existence of the unlawful conduct any earlier with the exercise of reasonable

diligence

84. lndeed, as reflected in PwC’s interview notes with a USF employee, _

_23_

Case 3:07-md-01894-AWT Document 34 Filed 06/30/08 Page 29 of 53

_ Thus, although cost-plus customers may have had

limited rights to examine documentation supporting USF’s pricing, the false invoices supplied by the

VASPs and other suppliers prevented the cost-plus customers from discovering Defendants’

unlewritl eenduet _

85. ln addition, Royal Ahold and USF continued to conceal the true purpose of the VASP
System to overcharge USF’s cost-plus customers even after USF’s scheme to inflate its reported
earnings by recording completely fictitious promotional allowances was publicly disclosed.
Beginning in October 2003, for the first time, Royal Ahold included selective information regarding
USF’s relationship with the VASPs in public filings with the United States Securities and Exchange
Commission. Specifically, Royal Ahold told investors in the United States that USF had
relationships with independently owned companies known as VASPs that “provide varying degrees
of support to USF” in the purchase of certain products from suppliers (emphasis added). ln making
that statement, Royal Ahold falsely stated that the VASPs Were a legitimate part of the distribution
chain, when in fact the most important “support” provided by the VASPs was to serve as a vehicle to

falsely inflate USF’s invoices sent to cost-plus customers

86. Thus, instead of disclosing that the VASP System was set up for the purpose of
allowing USF to falsely inflate its costs so that it could overcharge its cost-plus customers or that the
VASPs did not provide any legitimate services Royal Ahold’s disclosures were designed to give the
appearance of "full disclosure,” while in reality continuing to shroud in a false and misleading light
the true nature of the VASP System. Moreover, Royal Ahold’s false and misleading statements were

made at a time during which the VASP System was actively being operated and the statements were

_29_

Case 3:07-md-01894-AWT Document 34 Filed 06/30/08 Page 30 of 53

made in furtherance of the scheme and had the effect of allowing it to continue. As a result, even
after Royal Ahold’s limited disclosures regarding the VASPs Plaintiffs and other members of the
Class were not aware that they had been defrauded and were, at best, further misled and prevented

from learning the true nature of the VASP System.

87. Moreover, as set forth above, in order to avoid any substantial reduction in its margins
after the VASP System Was phased out, USF replaced the VASP System With direct agreements with
suppliers ln this manner, USF Was able to charge cost-plus customers the same falsely inflated
prices for goods following the elimination of the VASP System. ln the absence of these agreements
prices charged cost-plus customers would have declined noticeably and revealed the fraud committed
by Defendants’ operation and control of the VASP System. As was the case with respect to the
VASP System, neither USF nor Royal Ahold disclosed that USF had entered into these direct

arrangements with other suppliers

88. Upon information and belief, in 2006, USF also sent correspondence to customers
denying any wrongdoing with regard to the VASP System. All such disclosures and correspondence
were designed to protect and retain the benefits Defendants and their shareholders wrongfully

obtained through the operation and execution of the VASP System and subsequent unlawful conduct

89. Plaintiffs’ discovery of the wrongful conduct alleged herein was delayed by the
fraudulent concealment, deceptive acts practices and omissions and continuing conspiracy of
Defendants and others Plaintiffs could not have discovered the illegal conduct at an earlier date by
the exercise of reasonable diligence because of Defendants’ deceptive practices and techniques of

secrecy and misinformation As a result ofthe fraudulent concealment by Defendants’ all applicable

_30_

Case 3:07-md-01894-AWT Document 34 Filed 06/30/08 Page 31 of 53

statutes oflimitations have been tolled.
Royal Ahold’s Business Activities in the United States in Support of its Subsidiaries

90. Although separately incorporated, Royal Ahold provided direct support to many of its
U.S. subsidiaries including to USF, and in doing so conducted business directly with numerous

banks financial institutions and landowners in the United States.

91 . For example, Royal Ahold routinely provided financial guaranties for debt issued by
its subsidiary, Ahold Finance USA, lnc. that was used to finance the activities of its U.S.
subsidiaries including USF. According to Royal Ahold’s 2002 Form 20-F filed with the United
States Securities and Exchange Commission, as of December 31, 2002 Royal Ahold had guaranteed

more than EUR 2 billion, and an additional 81 .7 billion in bonds and loans issued by Ahold Finance

USA.

92. On information and belief, all or a substantial portion of the U.S. dollar denominated
bonds issued by Ahold Finance USA were sold to investors in the United States and Royal Ahold
held itself out to those investors as the ultimate guarantor of those bonds when they were being
marketed For example, according to Ahold’s 2000 Forrn 20-F, in July 2000, Ahold Finance USA
made a public offering in the United States of 8700 million in bonds to refinance and pay down

USF’s debt Royal Ahold fully and unconditionally guaranteed those bonds to U.S. investors who

purchased them.

93. ln addition, Royal Ahold’s Form 2002 20-F stated that “the Company”’, which the 20-
F defines to include Royal Ahold, “has guaranteed some of the obligations of the VASPs relating to

purchases made on behalf of USF.” Accordingly, although USF now denies that Royal Ahold

_31_

Case 3:07-md-01894-AWT Document 34 Filed 06/30/08 Page 32 of 53

guaranteed obligations of the VASPs Royal Ahold publicly has held itself out to be included as a

guarantor of obligations of` the VASPs regardless of who issued the guarantees _

94. Likewise, Royal Ahold routinely entered into capital investment commitments for
fixed assets (mainly land and buildings) used by its U.S. subsidiaries including on information and
belief, by USF, in the regular operation of their businesses Again, according to its 2002 Form 20-F,
as of the end of 2002, Royal Ahold had 8214 million in such investment commitments for fixed

assets in various locations in the United States

95. ln addition to its credit guaranties and capital investment commitments on behalf of
its U.S. subsidiaries Royal Ahold regularly provided other corporate guaranties in the form of
“letters of assurance, comfort letters real estate guarantees and buy-back guarantees” given directly
to suppliers and banks doing business with its U.S. subsidiaries including USF. For example, when
USF entered into an operating lease agreement to finance the acquisition and construction of two
distribution centers and an office building, Royal Ahold guaranteed the debt In 2003 Royal Ahold

Was required to purchase the trust that owned those leased properties for 842 million.

96. As Royal Ahold explained in Note 30 to its financial statements contained in its 2002

_32_

Case 3:07-md-01894-AWT Document 34 Filed 06/30/08 Page 33 of 53

F olin 20-F, Royal Ahold provided these guarantees to “acknowledge the Company’s awareness and
support of the transactions and relationships entered into by its subsidiaries and franchisees” The
Note went on to further explain that the “buy-back guarantees have been granted by Ahold to
facilitate external financing for franchisees or subsidiaries The liability under these guarantees is
secured by the value of` the related assets that the Company could obtain and liquidate in the event

Ahold has to perform under the guarantees.”

RICO ALLEGATIONS

The VASP System Enterprise
97. USF, Royal Ahold and Redgate are all “persons” within the meaning of 18 U.S.C.

§1961(3).

98. Defendant USF, together with Frozen Farms, Produce Solutions, Seafood Marketing
Specialists Specialty Supply & Marketing, Commodity Management and Private Brands form an
association-in-fact for the common and continuing purpose described herein including Paragraphs 1
to 96 above, and constitute an enterprise within the meaning of 18 U.S.C. § 1961(4) (the “VASP

System Enterprise”).

99. The VASP System Enterprise was an ongoing organization which engaged in, and

whose activities affected, interstate commerce

100. While USF has participated in and is a member and part of the VASP System

Enterprise, it also has an existence separate and distinct from the enterprise

101. As set forth above, the VASP System Enterprise has an ascertainable structure

separate and apart from the pattern of racketeering activity in which Defendants have engaged

_33_

Case 3:07-md-01894-AWT Document 34 Filed 06/30/08 Page 34 of 53

The lndividual VASP Enterprises

102. Alternatively, Private Brands Commodity Management, Frozen Farms, Produce
Solutions Seafood Marketing Specialists and Specialty Supply & Marketing each constitute a
separate enterprise within the meaning of 18 U.S.C. § 1961(4) (the “Individual VASP Enterprises”).
Each lndividual VASP Enterprise has been engaged in, and their activities have substantially

affected, interstate commerce
Operation and Control

103. Defendants have controlled and operated the VASP System Enterprise and/or

lndividual VASP Enterprise by, among other things:

(a) Entering into agreements with the VASPs pursuant to which the amounts

invoiced USF are falsely inflated;

(b) Dictating the products to be purchased by the VASPs and the amounts by

which the invoices received from the VASPs were to be inflated;
(c) Dictating the amount of kickbacks to be paid by the VASPs to USF; and
(d) Concealing the true nature of the relationship between USF and the VASPs
Predicate Acts
A. Mail and Wire Fraud

104. Section 1961(1) of RICO provides that “racketeering activity” includes any act
indictable under 18 U.S.C. §1341 (relating to mail fraud) and 18 U.S.C. §1343 (relating to wire

_34_

Case 3:07-md-01894-AWT Document 34 Filed 06/30/08 Page 35 of 53

fraud). As set forth below, Defendants engaged in conduct violating each of these laws to effectuate

their scheme.

105. For the purpose of executing and/or attempting to execute the above described
scheme to defraud or obtain money by means of false or fraudulent pretenses representations or
promises Defendants in violation of 18 U.S.C. §1341, caused matter and things to be delivered by
the Postal Service or by private or commercial interstate carrier, and/or received matter and things
from the Postal Service or private or commercial interstate carriers These acts were done
intentionally and knowingly with the specific intent to advance Defendants’ scheme, or with
knowledge that the use of the mails Would follow in the ordinary course of business, or that such use

could have been foreseen, even if not actually intended

106. Defendants carried out their scheme in different states and could not have done so

unless they used the Postal Service or private or commercial interstate carriers

107. For the purpose of executing and/or attempting to execute the above described
scheme to defraud or obtain money by means of false pretenses representations or promises
Defendants in violation of 18 U.S.C. § 1343, transmitted, caused to be transmitted and/or received
by means if wire communication in interstate and foreign commerce, various writings signs and
signals These acts were done intentionally and knowingly with the specific intent to advance
Defendants’ scheme, or with knowledge that the use of Wire communications would follow in the

ordinary course of business or that such use could have been foreseen, even if not actually intended

108. The matter and things sent by Defendants via the Postal Service, private or

commercial carrier, wire or other interstate electronic media include, inter alia:

_35-

Case 3:07-md-01894-AWT Document 34 Filed 06/30/08 Page 36 of 53

a. contracts and invoices that intentionally mislead USF’s cost plus customers

about the manner in which USF would compute prices charged to them;

b. invoices that falsely and fraudulently misrepresented the amounts that USF’s

cost-plus customers owed USF under the terms of its cost-plus arrangements

c. materials that falsely and fraudulently supported the basis of the cost
component used by USF to calculate the prices charged to its customers pursuant to its cost-

plus contracts and

d. materials that falsely and fraudulently described USF’s relationship with the

VASPs

109. Other matter and things sent through or received from the Postal Service, private or
commercial carrier or interstate wire transmission by Defendants included information or

communications in furtherance of or necessary to effectuate the scheme.

l 10. Defendants’ misrepresentations acts of concealment and failures to disclose were

knowing and intentional, and made for the purpose of deceiving Plaintiffs and the Class and

obtaining their property for Defendants’ gain.

l 1 1 . Defendants either knew or recklessly disregarded the fact that the misrepresentations
and omissions described above were material, and Plaintiffs and the Class relied on the

misrepresentations and omissions as set forth above.

1 12. As a result, Defendants have obtained money and property belonging to Plaintiffs and

Class members and Plaintiffs and the Class have been injured in their business or property by the

_36_

Case 3:07-md-01894-AWT Document 34 Filed 06/30/08 Page 37 of 53

Defendants’ overt acts of mail and wire fraud
B. Money Laundering

l 13. Defendants committed acts constituting indictable offenses under 18 U.S.C. § 1956 in
that knowing that funds they received from Plaintiffs and other Class members constituted the
proceeds of unlawful activity including mail and wire fraud, Defendants conducted and attempted to

conduct certain financial transactions affecting interstate commerce involving these proceeds

l 14, These proceeds were the portions of payments received by USF from Plaintiffs and
other Class members as a result of the scheme alleged herein, i.e., payments for the falsely inflated
cost components used by USF to calculate the price charged to its customers and payments for

USF’s increased mark-ups resulting from USF’s use of falsely inflated costs to calculate such mark-

ups

l 15. These financial transactions conducted by Defendants Were intended to promote the
carrying on of the mail and wire fraud by making the VASPs appear to have a legitimate business

purpose, and to hide from Plaintiffs and other Class members the false “cost” added to USF’s

invoices

l 16. Defendants further had knowledge that these financial transactions were designed to,
and did` conceal and disguise the nature, location, source, ownership or control of the proceeds of the
mail and wire fraud, by making it appear that the full invoice amount belonged to the VASPs when
in fact the VASPs kicked back a portion of the invoice price, representing the proceeds of the mail

and wire fraud, to USF, and thus hiding the falsely inflated cost component from its clients’ auditors

1 l 7. Defendants committed acts constituting indictable offenses under 18 U.S.C. § 1957 in

_37_

Case 3:O7-md-01894-AWT Document 34 Filed 06/30/08 Page 38 of 53

that they knowingly engaged in and attempted to engage in monetary transactions affecting interstate
commerce and involving funds received from Plaintiffs and other Class members which Defendants
knew to be the proceeds of mail and wire fraud and criminally derived property from unlawful

activity as described above, of a value greater than 810,000.

118. Defendants upon information and belief, deposited these funds in financial

institutions and withdrew, transferred and exchanged such funds from those financial institutions
Pattern of Racketeering Activity

1 19. Defendants USF, Royal Ahold and Redgate, each of whom are persons associated
With, or employed by, the VASP System Enterprise and/or the lndividual VASP Enterprises, did
knowingly, willf`ully, and unlawfully conduct or participate in the affairs or the VASP System
Enterprise and/or the lndividual VASP Enterprises through a “pattern of racketeering activity,”
within the meaning of 18 U.S.C. §§ 1961 (1), 1961(5) and l962(c). The racketeering activity was
made possible by each Defendant’s regular and repeated use of the facilities and services of the
VASP Enterprise and/or the Individual VASP Enterprises. Defendants Royal Ahold, USF and

Redgate had the specific intent to engage in the substantive RIC() violation alleged herein.

120. Defendants Royal Ahold, USF and Redgate each committed or aided and abetted in
the commission of at least two acts of racketeering activity, i.e. , indictable violations of 18 U.S.C. §§
1341, 1343, 1956 and 1957 as described above, within the past ten years ln fact, Defendants
collectively have committed thousands of acts of racketeering activity. The acts of racketeering were
not isolated, but rather had the same or similar purpose, participants method of commission, and

victims including Plaintiffs and Class members

_33_

Case 3:O7-md-01894-AWT Document 34 Filed 06/30/08 Page 39 of 53

121. The multiple acts of racketeering activity which Defendants committed and/or
conspired to or aided and abetted in the commission of, were continuous There was repeated
conduct in a closed, but substantial period of time at least during the period from 1998 to 2004, This

conduct therefore constituted a “pattern of racketeering activity” as defined in 18 U.S.C. § 1961(5).
CLASS ACTION ALLEGATIONS

122. Plaintiffs bring this action against Defendants on their own behalf and, pursuant to
Rules 23(a) and (b) of the Federal Rules of Civil Procedure, as a class action on behalf of a class of
all persons or entities that purchased products from USF or one of its subsidiaries pursuant to
arrangements in which the price paid was defined in terms of a cost component plus a mark-up (i.e. ,
cost-plus arrangements). Excluded from the Class are Defendants any entity in which any defendant
has a controlling interest or is a parent or subsidiary of, or any entity that is controlled by a defendant

and any of Defendants’ officers directors employees affiliates legal representatives heirs

predecessors successors and assigns

123. Plaintiffs also bring this action on behalf of the following subclasses

(a) Any person in the United States who purchased products from USF pursuant to
arrangements in Which the price paid was defined in terms of a cost component plus a mark-
up, and for which USF used a VASP transaction to calculate the cost component (the “RICO
Subclass”). Excluded from the RICO Subclass are Defendants any entity in which any
defendant has a controlling interest or is a parent or subsidiary of, or any entity that is
controlled by a defendant and any of Defendants’ officers directors employees affiliates
legal representatives heirs predecessors successors and assigns

(b) Any person in Califomia who purchased products from USF pursuant to arrangements in
which the price paid was defined in terms of a cost component plus a mark-up, and for which
USF used a VASP transaction to calculate the cost component (the “California Subclass”).
Excluded from the Califomia Subclass are Defendants any entity in which any defendant has
a controlling interest or is a parent or subsidiary of, or any entity that is controlled by a

_39_

Case 3:07-md-01894-AWT Document 34 Filed 06/30/08 Page 40 of 53

defendant and any of Defendants’ officers directors employees affiliates legal
representatives heirs predecessors successors and assigns

124. There are thousands of members of the Class as well as the RICO and California
Subclasses (collectively the “Classes”). Accordingly, the Classes are so numerous that joinder of all
members is impracticable Although the exact number of Class members is not yet known, on
information and belief, USF has tens of thousands of customers who bought products pursuant to
cost-pus arrangements These customers are geographically dispersed throughout the United States
The Classes are ascertainable, as the names and addresses of all Class members can be identified in

business records maintained by Defendants

125. Plaintiffs will fairly and adequately protect the interests of the Classes and have no
interests adverse to, or which directly and irrevocably conflict with, the interests of other Class
members Plaintiffs are represented by counsel experienced and competent in the prosecution of

complex class action litigation and other complex litigation including federal RICO claims

126. There are questions of law and fact common to the Classes which predominate over
any questions affecting only individual members of the Classes. Such common questions include,

inter alia:

a. Whether Defendants have engaged in the schemes or artifices described herein

to improperly and unlawfully inflate the prices charged to USF’s customers

b. Whether Defendants have engaged in mail and wire fraud;
c. Whether Defendants have engaged in money laundering;
d. Whether Defendants have engaged in a pattern of racketeering activity;

_40_

Case 3:07-md-01894-AWT Document 34 Filed 06/30/08 Page 41 of 53

e. Whether the VASP System Enterprise and lndividual VASP Enterprises are
enterprises within the meaning of 18 U.S.C. 1961(4);

f. Whether Defendants conducted or participated in the affairs of the VASP
System Enterprise and/or the lndividual VASP Enterprises through a pattern of racketeering activity
in violation of18 U.S.C. l962(c);

g. Whether Defendants conspired to violate 18 U.S.C. §§ 1962(c) as prohibited
by is u.s.C. § 1962(d);

h. Whether Defendants’ violations of 18 U.S.C. §§ 1962(c) and/or 1962(d)
proximately caused injury to Plaintiffs’ and RICO Subclass members’ business or property;

i. Whether Defendants’ fraudulently concealed their scheme;

j. Whether USF has breached its contractual obligations to its customers under
its cost-plus arrangements

k. Whether USF has breached its implied duty of good faith and fair dealing;

l. Whether Defendants’ unlawful conduct unjustly enriched Royal Ahold; and

m. Whether a constructive trust should be imposed on all the property Royal
Ahold acquired as a result of Defendants’ unlawful conduct

l 27. Plaintiffs’ claims are typical of the claims of the members of the Classes because they

originate from the same illegal, fraudulent and confiscatory practices of Defendants and Defendants

act in the same way toward Plaintiffs and the Classes

128. Plaintiffs will fairly and adequately protect the interests of the members of the
Classes are committed to the vigorous prosecution of this action, have retained counsel competent

and experienced in class litigation and have no interests antagonistic to or in conflict with those of

_41_

Case 3:07-md-01894-AWT Document 34 Filed 06/30/08 Page 42 of 53

the Classes As such, Plaintiffs are adequate representatives of the Classes

129. The prosecution of separate actions by individual members of the Classes would
create a risk ofinconsistent or varying adjudications which would establish incompatible standards

of conduct for the party opposing the Classes.

130. A class action is superior to other available methods for the fair and efficient
adjudication of this controversy since joinder of all members of the Classes is impracticable and
because of the many questions of law and fact that are common to Plaintiffs’ claims and those of the
Classes Further7 the expense and burden of individual litigation make it impossible for all the
members of the Classes individually to redress the wrongs done to them. There will be no difficulty

in the management of this action as a class action.

l 3 1 . Class treatment will permit a large number of similarly situated persons to prosecute
their common claims in a single forum simultaneously, efficiently, and without unnecessarily

duplicating evidence, effort, and expense that numerous individual actions would engender.

wl

(Violation of 18 U.S.C. § 1962(c) Against All Defendants)

1 32. Plaintiffs hereby incorporate by reference all preceding paragraphs as if fully set forth

herein.

133. This claim for relief arises under 18 U.S.C. § 1962(c) and is brought on behalf of the

RICG Subclass

134. As set forth above, Defendants have violated 18 U.S.C. § 1962(c) by conducting, or

_42_

Case 3:07-md-01894-AWT Document 34 Filed 06/30/08 Page 43 of 53

participating directly or indirectly in the conduct of the affairs of the VASP System Enterprise and

/or the lndividual VASP Enterprises through a pattern of racketeering

135. As a direct and proximate result, Plaintiffs and the members of the RICO Subclass
have been injured in their business or property by the predicate acts which make up the Defendants’
pattern of racketeering activity through the VASP System Enterprise and/or the Individual VASP
Enterprises.

136. Specifically, Plaintiffs and members of the RICO Subclass have been injured in their

business or property by having paid too much for foodservice products purchased from USF pursuant

to cost-plus arrangements entered into with USF.

M_I
(Violation of 18 U.S.C. § 1962(d) Against All Defendants)

1 37. Plaintiffs hereby incorporate by reference all preceding paragraphs as if fully set forth

herein,

138. This claim for relief arises under 18 U.S.C. § 1962(d) and is brought on behalf of the

RICO Subclass

139. ln violation of 18 U.S.C. § 1962(d), Defendants Royal Ahold, USF and Redagte have,
as set forth above, conspired to violate 18 U.S.C. § l962(c). The conspiracy commenced at least as
early as 1998 and continued at least until 2004, Royal Ahold joined the conspiracy in 2000. The
object of the conspiracy was to use dummy corporations to falsely inflate invoices to obtain money

or property rightfully belonging to members of the RICO Subclass

140. As set forth above, each of the Defendants knowingly, willfully, and unlawfully

_43_

Case 3:07-md-01894-AWT Document 34 Filed 06/30/08 Page 44 of 53

agreed and combined to conduct or participate, directly or indirectly, in the conduct of the affairs and
activities ofthe VASP System Enterprise and/or the lndividual VASP Enterprises through a pattern
of`racketeering activity, including acts indictable under 18 U.S.C. §§ 1341, 1343, 1956 and 1957 in
violation of 18 U.S.C. § 1962(c). Royal Ahold, USF and Redgate objectively manifested their
agreement to the commission of the substantive RICO violations by at least one member of the

conspiracy by words or acts

141. Each Defendant committed at least one overt act of racketeering activity or other

wrongful activity in furtherance of such conspiracy.

142. Even if some of the Defendants did not agree to harm specifically the Plaintiffs or
other RICO Subclass members the purpose of the acts that caused them injury was to advance the
overall object of the conspiracy, and the harm to Plaintiffs and other RICO Subclass members was a

reasonably foreseeable consequence of Defendants’ scheme.

143. As a direct and proximate result, Plaintiffs and the members of the RICO Subclass
have been injured in their business or property by the predicate acts which make up the Defendants’
pattern of racketeering activity through the VASP System Enterprise and/or the lndividual VASP

Enterprises

144. Specifically, Plaintiffs and members of the RICO Subclass have been injured in their
business or property by having paid too much for foodservice products purchased from USF pursuant

to cost-plus arrangements entered into with USF.

_44_

Case 3:07-md-01894-AWT Document 34 Filed 06/30/08 Page 45 of 53

COUNT III
(Breach of Contract Against USF)

145. Plaintiffs hereby incorporate by reference all preceding paragraphs as if fully set forth

herein,

146. Plaintiffs and the other members of the Class entered into or are third party
beneficiaries of cost-plus arrangements with USF or one of its acquired subsidiaries or predecessors
pursuant to which Plaintiffs and the members of the Class have purchased food and other products
from USF on a cost-plus basis Plaintiffs and other Class members complied with all of their

obligations under the arrangements

147. The terms of these contracts provided that the price charged by USF to Plaintiffs and
other Class members was to be based on a cost component plus a mark-up. The mark-up was
expressed as a percentage of the cost component or as a fixed dollar amount for certain products
For certain products these cost-plus arrangements calculate the cost component of the price charged

to USF ’s customers by using the invoice issued by USF’s suppliers or other similar types of entities

148. USF repeatedly used invoice costs from the VASPs to calculate the cost component of

the price billed to its customers

149. The VASPs or other entities operated in a substantially similar manner, are not the
type of entity from which USF’s cost-plus arrangements permit USF to use an invoice to calculate

the cost component of the price billed to its customers

150. USF did not have the discretion to use the invoice costs from the VASPs or other

_45_

Case 3:07-md-01894-AWT Document 34 Filed 06/30/08 Page 46 of 53

entities operated in a substantially similar manner, to calculate the cost component of the price billed

to its customers

151. USF breached its cost-plus arrangements with, and the reasonable expectations of,
Plaintiffs and other Class members by using invoice costs from the VASPs or other entities operated

in a substantially similar manner, to calculate the cost component of the price billed to its customers

1 52. USF further breached the terms of its cost-plus arrangements with Plaintiffs and other
Class members by acting dishonestly and in a commercially unreasonable manner to manipulate the
invoice costs (as described in more detail above) used to calculate the cost component of the price

charged to its customers

153. USF has also breached its implied duty of good faith and fair dealing imposed on all
of its cost-plus arrangements ln this regard, by intentionally getting suppliers to falsely inflate the
amounts they invoice USF and/or by purchasing products through the VASPs for the purpose of
increasing its cost component, USF has prevented Plaintiffs and members of the Class from

receiving the benefit of their cost-plus arrangements

154. As a result of the foregoing, Plaintiffs and Class members have been injured by
having paid higher prices for food and other products purchased from USF pursuant to cost-plus
arrangements entered into With USF or one of its acquired subsidiaries than they otherwise would

have paid had USF not breached its cost-plus arrangements

_46-

Case 3:07-md-01894-AWT Document 34 Filed 06/30/08 Page 47 of 53

_C_Q_U_M

(Violation of California Business and Professions Code §§ 17200 et seq. Against Defendants
for Unlawful, Unfair and Fraudulent Business Practices)

l 55. Plaintiffs hereby incorporate by reference all preceding paragraphs as if fully set forth

herein,
156. This claim is brought on behalf of the California Subclass

l 57. Defendants have engaged in unlawful, unfair and fraudulent business acts or practices
within the meaning of California Business & Professions Code §§ 17200 et seq. in connection with
their illegal overcharge schemes as described above. Defendants used these illegal overcharge
schemes with the intent, directly or indirectly, to dispose of plaintiff CHW and other California

Subclass members’ property through the use of falsely inflated invoices

158. To do so, Defendants engaged in unlawful business acts or practices within the
meaning of California Business & Professions Code §§ 17200 et seq. by, as described above,
conducting the affairs of an enterprise through a pattern of racketeering activity in violation of 18
U.S.C. § 1962(c); conspiring to conduct the affairs of an enterprise in violation of 18 U.S.C. §
1962(d); violating the federal mail fraud statute, 18 U.S.C. § 1341; violating the federal wire fraud
statute, 18 U.S.C. § 1343; and violating the federal money laundering statutes 18 U.S.C. §§ 1956

and 1957.

159. Further, Defendants engaged in unfair and fraudulent business acts or practices in
violation of California Business & Professions Code §§ 17200 et seq. by, among other things setting
up shell companies inventing sham transactions and creating phony invoices used to bill CHW and

other California Subclass members

_47_

Case 3:07-md-01894-AWT Document 34 Filed 06/30/08 Page 48 of 53

160. These business acts or practices constituted a pattern of behavior that victimized
CHW and other California Subclass members by deceiving them into believing that USF’s cost

component was calculated based on transactions with only legitimate suppliers

161. As a direct and foreseeable result of Defendants’ violations CHW and other
California Subclass members suffered substantial monetary losses by having paid higher prices for

the food and other products they purchased from USF.
LUNT_Y
(Unjust Enrichment Against Defendant Royal Ahold)

162. Plaintiffs hereby incorporate by reference all preceding paragraphs as if fully set forth

herein,

163. As set forth above, Royal Ahold knew about the existence, use, and execution of the
VASP System. Royal Ahold further provided guarantees for the purchase of products funneled
through the VASPs Royal Ahold also made false statements designed to conceal and further

perpetuate the operation of the VASP system.

164. As a result of the acts alleged, Plaintiffs and Class members paid inflated product
prices for purchases from USF, adding hundreds of millions of dollars in income to USF’s books
thus artificially inflating USF’s value. That inflated value was obtained by Royal Ahold through the
87.1 billion purchase price that Royal Ahold received when it sold USF in 2007, Moreover, by
retaining liability for damages arising out the claims in this case (through the indemnification
provisions contained in the 2007 sale transaction), Royal Ahold recognized that USF’s unlawful

conduct inured to its benefit and that such benefit was included in the purchase price of USF, which

_48_

Case 3:07-md-01894-AWT Document 34 Filed 06/30/08 Page 49 of 53

it has to date retained The overcharges paid by USF’s cost-plus customers thus represents an unjust
benefit the Plaintiffs and Class members conferred upon Royal Ahold, and had Royal Ahold not

agreed to the indemnifications provisions the purchase price of USF would have been substantially

reduced

165. Royal Ahold accepted and retained the proceeds of these illegal acts and thus was
unjustly enriched by these illegal overcharges Equity requires disgorgement to prevent Royal Ahold

from benefiting from the retention of the Plaintiffs’ and Class members’ property.

166. Plaintiffs and Class members seek an order directing Royal Ahol,d to return the

benefit Royal Ahold unjustly procured, received, and retained from the unlawful conduct alleged

herein.
COUNT VI
(Imposition of Constructive Trust Against Defendant Royal Ahold)
l 67. Plaintiffs hereby incorporate by reference all preceding paragraphs as if fully set forth
herein,

168. The Court should impose a constructive trust on all monies currency, profits
negotiable instruments promissory notes and interests in property, both real and personal, which
Royal Ahold acquired as a result of the unlawful conduct described herein, including but not limited
to any proceeds Royal Ahold receives from its sale of USF. Royal Ahold holds Plaintiffs and Class

members’ funds as a constructive trustee for the benefit of Plaintiffs and Class members

169. Plaintiffs and Class members are unaware of the total amount of funds attributable to

_49_

Case 3:07-md-01894-AWT Document 34 Filed 06/30/08 Page 50 of 53

the VASP System and other unlawful conduct Royal Ahold currently holds However, these
amounts are traceable to the transactions in which Plaintiffs and Class members were overcharged

for purchases from USF.

PRAYER FOR RELIEF
WHEREFORE, Plaintiffs demand judgment in their favor and in favor of the Classes against

Defendants jointly and severally, as follows:

A. Determining that this action may be maintained as a class action under Fed. R.
Civ. P. 23(a) and (b);

B. Declaring that Defendants have violated Sections 1962(c) and 1962(d) of
RICO and that USF breached its contractual obligations

C. As to Counts l and Il, preliminarily and permanently enjoining Defendants and
all persons acting under, in concert with, or for them, from continuing conduct in violation of the

RICO statute;

D. As to all Counts, ordering Defendants to pay damages in an amount to be

determined at trial;
E. As to Counts l and ll, ordering Defendants to pay treble the amount of

damages suffered by Plaintiffs and the RICO Subclass as a result of Defendants’ violations of

Sections 1962(c) and 1962(d) ofRICO;
F. As to Counts l and ll, ordering disgorgement;

G. As to Count IV, for restitution and disgorgement of monies pursuant to the

California Business and Professions Code;

H. As to Count V, for restitution and disgorgement;

_5()_

Case 3:07-md-01894-AWT Document 34 Filed 06/30/08 Page 51 of 53

l. As to Count Vl, for imposition of a Constructive Trust;

J. Awarding Plaintiffs the costs and disbursements of this action, including
reasonable attomeys’ fees and the reimbursement of expenses in amounts to be determined by the
Court;

K. Awarding prejudgment interest; and

L. Granting such other and further relief as this Court deems to be just and
proper.

DEMAND FOR TRIAL BY JURY
Plaintiffs demand a trial by jury.
Dated: June 30, 2008
Respectfully submitted,
THE PLAINTIFFS
By: /s/
James E. Hartley, Jr.
Federal Bar No. ct 08275
DRUBNER & HARTLEY, L.L.C.
500 Chase Parkway
Waterbury, CT 06708
(203) 753-9291
and
Charles Hellman
One Penn Plaza, Suite 4507

New York, NY 10119
(212) 736-2121

-51_

Case 3:07-md-01894-AWT Document 34 Filed 06/30/08 Page 52 of 53

_52_

WHATLEY DRAKE & KALLAS, LLC
Edith M. Kallas

Joe R. Whatley, Jr.

Deborah Clark-Weintraub

1540 Broadway, 37th Floor

New York, NY 10036

(212) 447-7070

AKIN GUMP STRAUSS HAUER & FELD
LLP

R. Laurence Macon

Karen Kroesche Gulde

300 Convent Street, Suite 1600

San Antonio, Texas 78205

(210) 281 -7000

and

Richard L. Wyatt, Jr.

Todd M. Stenerson

Robert S. Strauss Building

1333 New Hampshire Ave., N.W.
Washington, D.C. 20036-1564
(202) 887-4000

Co-Lead Counsel for Plaintiij

FOOTE, MEYERS, MIELKE &
FLOWERS

Robert M. Foote

416 South Second Street

Geneva, IL 60134

(630) 232-6333

GRAY & WHITE
Mark Gray

1200 PNC Plaza
Louisville, KY 40202
(502) 585-2060

Case 3:07-md-01894-AWT Document 34 Filed 06/30/08 Page 53 of 53

_53_

STROM LAW FIRM, PLLC
J. Preston Strom, Jr.

1501 Main Street, Suite 700
Columbia, SC 29201

(803) 252-4800

BALL & SCOTT

Gordon Ball

550 West Main Street, Suite 601
Knoxville, Tennessee 37902
(865) 525-7028

MCNAIR LAW FIRM, P.A.
Celeste T. Jones

1301 Gervais Street

P.O. Box 11390

Columbia, SC 29211
(803)799-9800

Edwards Angell Palmer & Dodge LLP
Dennis O. Brown

Joseph R. Geoghegan

90 State House Square, 9th Floor
Hartford, CT 06103

(860) 541-7749

ROME MCGUIGAN
Anne C. Dranginis
Joseph Bree Burns

One State St., 13th Floor
Hartford, CT 06103-3101
(860) 493-3538

Additional Plaintiffs’ Counsel

